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       AO 9 1 (Rev. 11/11) Criminal Complaint


                                            UNITED STATES DISTRICT COURT
                                                                     for the
                                                            District of Nebraska

                         United States of America                       )
                                       V.                               )
                                                                        )       Case No.
                                                                        )                  4:18MJ3172
                                                                        )
                         ALEC RAMSEY EILAND                             )
                                                                        )
                                 Defendant(.r)


                                                     CRIMINAL COMPLAINT
                I, the complainant in this case, state that the following is tme to the best of my knowledge and belief.
       On or about the date(s) of                November 3, 2018              in the county of           LANCASTER         in the
                              District of        NEBRASKA           , the defendant(s) violated:

                   Code Section                                                   Offense Description
       18 U.S.C. 2261A(2)                           CYBERSTALKING
       18 U.S.C. 875
                                                    TRANSMITTING THREATENING COMMUNICATIONS




                This criminal complaint is based on these facts:


      SEE ATTACHED AFFIDAVIT OF SPECIAL AGENT JOHN D. HALLOCK.




                ivf Continued on t!hc attached sheet.



                                                                                       JOHN D. HALLOCK, SPECIAL AGENT
                                                                                                   Printed name and title


SwornSworn to before
      to before   memebyandreliable
                             signed in my presence.
                                     electronic  means:

Date: Date:
       November 9, 2018.
                                                                                                    Judge's signature
District of Nebraska                                                              _______________________________
      C ity and state:                   LINCOLN, NEBRASKA                       CHERYL R. ZWART, U.S. MAGISTRATE JUDGE
                                                                                  Cheryl R. Zwart,    U.S. Magistrate Judge
                                                                                             Primed name and title
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                          AFFIDAVIT IN SUPPORT OF CRIMINAL
                          COMPLAINT AND ARREST WARRANT


         I, John D. Hallock, having been first duly sworn, do hereby depose and state as follows:

                                          INTRODUCTION

         I.     I am a Special Agent (SA) of the Federal Bureau of Investigation (FBD, and have

been so employed for approximately seventeen (17) years. I am currently assigned to the FBI

Omaha Division, Violent Crimes Squad, Great Plains Violent Crime Task Force (GPVCTF)

where I am responsible for investigating violations of various criminal statutes, including those

pertaining to Cyberstalking, in violation of Title 18, United States Code, Section 2261 A(2) and

Transmitting Threatening Communications, in violation of Title 18, United States Code, Section

875. I have been the Case Agent and have assisted in Federal Stalking and Threatening

Communications investigations, which have resulted in search warrants, arrests, and the seizure

of forfeiture and assets. Prior to joining the FBI, I served in the United States Air Force (USAF),

both active duty and National Guard for 8 ½ years, and then served as a police officer for seven

years.

         2.     I have received relevant training in violent crime and Cyberstalking and

Threatening Communication investigations from the FBI Academy in Quantico, Virginia. I have

also acquired knowledge and information about the means and methods of Cyberstalking and

Threatening Communications, to include informal training, other law enforcement officers and

investigators, informants, persons whom I have arrested and/or interviewed, and my participation

in multiple investigations related to Cyberstalking and Threatening Communications

investigations. The aforementioned investigations ultimately led to the arrests and convictions of
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those persons who violated those federal crimes.

                                PURPOSE OF THJS AFFIDAVIT

       3.      This affidavit is submitted in support of a criminal complaint and arrest warrant

for ALEC RAMSEY EILAND, a white male, born in 1999. Since this affidavit is being

submitted for the limited purpose of securing an arrest warrant, I have not set forth each and

every fact known to me regarding this investigation. The statements contained in this affidavit

are based in part on the investigation that J have conducted and information provided to me by

other law enforcement officers verbally, and through written reports.

       4.      Because of the sensitive circumstances relating to the information provided

herein, and to protect the three victims which are mentioned throughout the affidavit, your affiant

will refer to the following:

               i. An adult female with the initials LG, whom I refer to throughout the affidavit as

Vl for "Victim #1."

               ii. An adult female with the initials CD, whom I will refer to throughout the

affidavit as V2 for "Victim# 2."

              iii. An adult female with the initials EG, whom I refer to throughout the affidavit

as V3 for "Victim# 3."

              1v. An adult male with the initials PG, who is the biological father of V3, and the

Uncle ofVl.

                               OVERVIEW OF INVESTIGATION

        5.      On November 6, 2018, the FBI Omaha Division received a telephonic complaint

in where the complainant reported that a female victim was receiving numerous threats across


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 the internet from a white male subsequently identified as ALEC RAMSEY EILAND. These

 threats, which were posted on various social media sites, involved threats of bodily harm such as

 rape, and other threats such as posting the victims on social media sites for purposes of

 attempting to use the victims for prostitution.

        6.       On November 7, 2018, at approximately 9:00 a.m., your affiant met with PG, VI ,

and V3 in Omaha, Nebraska for purposes of an interview. Your affiant first met with PG (who is

the biological father of V3 and the Uncle of V 1) who explained that V l , V2, and V3 were the

victims of Cyberstalking and Threatening Communications via the internet. PG explained that

he had been saving the social media posts that were created by EILAND, and had taken over the

accounts ofV3 on November 3, 2018 in order to protect V3 from the stalking and threatening

communications. PG also explained that Vl had been receiving threatening communications

from EILAND, and the communications had been coming from various social media sites and

from random profiles, which PG, Vl and V3 believed were all created by EILAND. PG

provided your affiant with copies of the communications for both VI and V3. For the purpose of

establishing probable cause in reference to the federal violations charged, below are a sample of

the communications received by Vl and V3:

                 1.    VI "Snapchat" post - "There' s a special fucking place in hell for cunts

like you who don't give a shit about people's life's and how you effect them honestly you can

fucking die for all I care I'm not even sad about you anymore more pissed than anything."

               11.     VI "Facebook mobile application" post - listed as "Johhny Velsey shared

a photo." In this post, a picture of VI is provided and the text reads "call or text me at (a phone

number is provided) for a good time - I will make all your dreams come true in all fonnats thru


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sext, photos, or videos. If you really want and it's not far away I will even have sex with you for

as less as $50 and ifl like you I might do it for free. I'm down to have three ways and make any

of your fantasies come true! Just text me or call me and say hey babe ready for a good time or

something like that just tell me what your into kinks and all and I will send you a video or text

from there! Can't wait to see all the handsome studs who want this fine piece of ass!"

              111.    V3 "lnstagram" post - listed as gallentineemma - "This is just the start!!!!

There 's so much more to come!!! I hope your ready to live a living nightmare!!!!! Like I said

before you can thank your slut cousins girlfriend for all of this!!!!"

             1v.     V3 "Facebook "Instagram" post- listed as gallentinemma with a photo ofVl

and V3 - Want to see photos of both of us!!!! Want to exchange photos!!!! And my girlfriend on

snap!!!!"

              v.     V l "Facebook messenger" post - listed as jermany8 - "I can't wait to rape

that fine ass of yours!!!!! I'm going to cum so hard all over you!!!!! Remember this is your

girlfriend fault, she could have saved you but she didn't truly love you!!!! The only way out of

not being raped is killing yourself slut!!!!"

              v1.    Vl "Facebook messenger" post - listed as johnnybravo7 - "Hey slut!!!!! Did

you like those flat tires!!!! That's just the start next is s bomb attached your engine!!!!! Then

after you blow up it's your sisters car next!!!!! You better kill yourself before it's too late!!!!

Thank your whore girlfriend for all of this!!!!"

        7.     On November 7, 2018, your affiant interviewed Vl in Omaha, Nebraska. Vl

explained that V2 is the partner of Vl, and Vl and V2 reside in Lincoln, Nebraska. Vl stated

that VI had become friends with EILAND approximately one year ago when they worked


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together in Lincoln, Nebraska. Vl stated that VI would socialize with EILAND outside of their

employment, and Vl stated that EILAND eventually asked Vl out. Vl explained to EILAND

that Vl was dating V2, and that Vl wanted to remain friends with EILAND. Vl stated that

EILAND initially agreed to be friends with Vl, but then changed his mind, as EILAND told Vl

that he could not be VI'S friend because it hurt too much.

       8.     Vl stated that in September 2018, on EILAND'S birthday, VI stated that VI and

EILAND were doing "Facetime" on the computer, and EILAND was saying that he "wanted to

fuck us so hard" in where EILAND was referring to Vl and V2. VI stated that EILAND

attempted to stab his roommate, as VI witnessed it during the Facetime conversation. Shortly

after the incident, Vl said that EILAND started to text Vl that EILAND was going to kill

himself. V 1 stated that EILAND continued to harass V 1 nonstop through the use of social

media. Vl stated that Vl had also filed a complaint at the business where Vl and EILAND

worked together. and EILAND was subsequently transferred to another location.

       9.    VJ stated that EILAND started to drive by VI'S residence, and that Vl was

getting a voluminous amount of messages and threats from EILAND. VI stated that V2 was

also receiving the messages, and that EILAND was irate that Vl and V2 were involved in a

romantic relationship. Vl stated that Vl became very scared of EILAND, and decided to shut

down all of VJ 'S social media accounts. VI stated that V2 kept V2'S social media accounts,

but recently deleted the accounts, as V2 was receiving the same type of communications from

EILAND.

       10.    On November 7, 2018, Task Force Officer (TFO) Anthony Sattlefield, assigned to

the FBI Omaha Division GPVCTF, interviewed V3 in Omaha, Nebraska. TFO Sattlefield


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reported that V3, on November 3, 2018, began to receive harassing and threatening messages

from EILAND. TFO Sattlefield reported that V3 had met EILAND at Vl 'S graduation party in

May 2017, and this was the only time she had met EILAND. V3 told TFO Sattlefield that she

was really upset and scared when she received the messages, as the messages contained

references to watching V3 and possibly contacting other family members ofV3.

       11.    On November 17, 2018, your affiant, FBI Agent SA Brandon Day of the FBI

Omaha Division, Lincoln, Nebraska Resident Agency (LRA), FBI Agent SA Jonathan

Robitaille, and TFO Sattlefield made contact with EILAND in the parking lot of his apartment

complex in Lincoln, Nebraska, as he was walking to his vehicle. Your affiant explained to

EILAND that investigators wanted to talk to EILAND about the incidents involving the above-

mentioned victims. Before EILAND was interviewed, your affiant explained to EILAND that

the interview would be recorded, and that your affiant would be reading EILAND an Advice of

Rights Form, advising EILAND of his Miranda rights. After reading the Advice of Rights Form

to EILAND, he was afforded the opportunity to read over the form. EILAND indicated that he

wanted to a lawyer before he answered any questions. The interview was then terminated.

       12.   A few moments after terminating the interview, EILAND told your affiant that he

wanted to talk. Your affiant reactivated the audio recorder and read EILAND an Advice of

Rights Form for a second time. EILAND was then afforded the opportunity to read over the

form. EILAND, after reading over the form, signed the fonn, waiving his Miranda rights, as

EILAND stated that he wanted to talk to investigators about the above-mentioned information.

       13.   EILAND admitted that he was responsible for the threatening communications.

EILAND stated that he made up the fake accounts that he was using to send the communications


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to the victims, and could not remember all of the fake accounts he created. EILAND stated that

he was destroyed mentally as he and V 1 were best friends. EILAND stated that after he was

transferred by his employer, he attempted suicide, and was admitted to the Bryan West Hospital

in Lincoln, Nebraska. EILAND stated that he loved V l more than anybody, and that his

relationship was totally plutonic with V1.

       14.    EILAND stated that he posted a "Snapchat" story that contained threats, and called

it a "venting technique." EILAND stated that he did not mean the things that he posted on social

media. EILAND stated that he became angrier and thought that he needed to get revenge.

EILAND admitted to creating the fake social media accounts that he used to send the

communications. EILAND stated that he was upset with V2, so he sent threatening posts to V2

as well.

       15.     EILAND admitted that he also sent posts to V3. EILAND admitted to sending

nude photos of adult men to the victims in where the adult men had full erections in the photos.

EILAND admitted to making up the posts in where the victims could be contacted for sexual

favors. EILAND stated that he regretted what he did, and that he was not going to hurt anyone.

EILAND stated that he suffers from Severe Anxiety Disorder and Severe Depression.

       16.     In my training and experience, messages that are transmitted via Internet web

sites and applications like Facebook, which EILAND used to send threatening messages, arc

facilities of interstate commerce and the messages must travel in interstate commerce to reach a

victim. Facebook servers as a matter of public record are maintained in North Carolina,

Sweden, and Iowa. The defendant also transmitted threatening text messages by means of

cellular telephone, and cellular telephones are also facilities of interstate commerce in my


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         training and experience.

                17. Based upon the above facts and circumstances, I believe sufficient probable cause

         exists to auth01izc a criminal complaint and arrest warrant for ALEC RAMSEY EILAND

         regarding the violations pertaining to Cyberstalking, in violation of Title 18, United States Code,

         Section 2261A(2) and Transmitting Threatening Communications

         United States Code, Section 875.




Sworn to Date:
         before me by reliable electronic means:
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Dated: November 9, 2018.                                      _________________________
         Cheryl R. Zwart                                      United States Magistrate Judge
         United States Magistrate Judge
         District of Nebraska




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